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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 CONRAD LEE VARGAS,

        Plaintiff,                                                        ORDER
 v.
                                                                  Case No. 21-cv-17-jdp
 ROBERT MANN, et al

        Defendants.


       Plaintiff Conrad Lee Vargas, a prisoner in the custody of the Department of Corrections,

has filed a proposed civil complaint. Plaintiff is a prisoner and, therefore, subject to the 1996

Prisoner Litigation Reform Act. Plaintiff has requested leave to proceed without prepayment

of the filing fee, and submitted several uncertified monthly inmate transaction statements to

support this request. These statements are insufficient to determine whether plaintiff qualifies

for indigent status because plaintiff has not submitted a certified copy of plaintiff’s inmate trust

fund account statement (or institutional equivalent) for the six-month period immediately

preceding the filing of the complaint.

       For this case to proceed, plaintiff must submit the certified trust fund account statement

no later than February 2, 2021. If I find that plaintiff is indigent, I will calculate an initial

partial payment amount that must be paid before the court can screen the merits of the

complaint under 28 U.S.C. § 1915(e)(2). Thereafter, plaintiff will be required to pay the

balance of the filing fee in installments.




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                                              ORDER

        IT IS ORDERED that plaintiff Conrad Lee Vargas may have until February 2, 2021 to

submit a certified trust fund account statement for the period beginning approximately July

12, 2020 and ending approximately January 12, 2021. If, by February 2, 2021, plaintiff fails

to respond to this order, I will assume that plaintiff wishes to withdraw this action voluntarily.

In that event, the case will be closed without prejudice to plaintiff filing the case at a later date.




               Entered this 12th day of January, 2021.

                                       BY THE COURT:


                                       /s/
                                       PETER OPPENEER
                                       Magistrate Judge




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